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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 RANDY ABBAS ,
                                                                                                No. I: l 8-cv-05151-ENV-RER
                                Plaintiff,

           -against-

 HESTIA TOBACCO, LLC; and DA YID SLEY,

                                Defendants.


    OBJECTION TO REPORT AND RECOMMENDATION OF THE HONORABLE
       RAMONE. REYES, U.S.M.J., DATED AUGUST 28, 2020 [Docket No. 33)
        On August 28, 2020, the Honorable Ramon E. Reyes, U.S.M.J., issued his Report and

                                                                                     th
Recommendation [Docket No. 33] (the "August 28 Report and Recommendation"), reporting on

Plaintiff Randy Abbas ' ("Abbas") Motion for Default Judgment against defendants Hestia

Tobacco, LLC ("Hestia") and David Sley ("Sley") [Docket No. 31] (the "Motion for Default

Judgment").

                           th
        By the August 28 Report and Recommendation, Judge Reyes recommended that (I) the

motion be denied with leave to renew upon filing of proof of service of the Motion for Default

Judgment; or (2) "should Plaintiff subsequently file proof of service of the Motion-I recommend

that the motion be granted ." [Docket No. 33 , p. 2]

                                              th
       Subsequent to the August 28                    Report and Recommendation, on September 3, 2020,

Plaintiff, by its counsel , filed a letter [Docket No . 34] (the "Letter") explaining that Plaintiff had

not served the Motion for Default Judgment on Defendants because "after Defendants' counsel

withdrew from this action, Defendants did not enter an appearance pro se or by counsel or

otherwise provide Plaintiff with updated contact information." By the letter, Plaintiff requested

                                                                                                                              th
that (I) the Court extend the time for Plaintiff to serve upon the Defendants the August 28 Report
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and Recommendation, so that Plaintiff could attempt to locate Defendants, and (2) that Plaintiff

be permitted to make service by email upon Defendants if they could not otherwise be located. By

                                                                                                                                                th
docket entry, the court granted Plaintiff permission to serve a copy of the August 28 Report and

Recommendation "on David Sley at his last known email address and Hestia Tobacco, LLC, at the

email address listed on the company's website, info@HestiaTobacco.com."

Service of Defendants

       As set forth in detail in Plaintiff's affirmation of service, dated September 28, 2020 [Docket

No. 36] (the " Affirmation of Service"), Plaintiff has made extensive efforts to not only serve

                                 th
Defendants with the August 28         Report and Recommendation, but also with the Motion for

Default Judgment, and the Letter (the "Served Documents").

       As set forth in the Affirmation of Service, Plaintiff was able to successfully serve

Defendants with the Served Documents by (I) personal service; (2) email service; (3) United States

Postal Service, Priority Mail ; and (4) Federal Express. Confirmations evidencing the successful

service are attached to the Affirmation of Service. All emails were successfully delivered with no

               1
bouncebacks.
                                                                                                                             th
       Thus, Defendants have now been served with August 28                                                                       Report and Recommendation,

but also with the Motion for Default Judgment, and the Letter, and have not submitted any filings

opposing the Motion for Default Judgment.

                                                                                                                        th
       Defendant Sley first received notice of the August 28 Report and Recommendation by

email dated September 8, 2020, and Defendant Hestia first received notice by email dated

September 9, 2020 . Exh . A.




1
 The email to info@HestiaTobacco.com initially bounced back due to a typo, which was later
corrected in the version annexed hereto as Exhibit A.

                                                                           2
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                                                                                                                        th
        Both Defendants were personally served with the August 28 Report and Recommendation

on September 15 , 2020 , with copies sent by first class mail on September 16, 2020, and by certified

return receipt requested mail on September 17, 2020. [Docket No. 36, Exh. A]

        Both Defendants were served by with the Served Documents by email, which was sent on

September 17, 2020, and did not bounce back. [Docket No. 36, Exh. B]

        Both Defendants were served by with the Served Documents by United States Postal

Service, Priority Mail which was delivered on September 21 , 2020. [Docket No. 36, Exh. C]

        Both Defendants were served by with the Served Documents by Federal Express, which

was delivered on September 18, 2020. [Docket No . 36]

        Thus, Defendants have had actual notice of the Motion for Default since September 8,

2020-nearly a month-and have not submitted any opposition papers.

Request for Relief

                                                                                                                             th
        Plaintiff does not object to the findings in the "Liability" portion of the August 28 Report

and Recommendation.

                                                                                                                       th
        Plaintiff objects, however, to the finding in the August 28 Report and Recommendation

that it failed to provide Defendants with notice of the Motion for Default Judgment. [Docket No.

33, pp . 6-7]

        As set forth above in detail , and in the Affirmation of Service [Docket No. 36], because ( 1)

Plaintiff has, in accordance with the Court' s docket entry in response to the Letter, served

Defendants-repeatedly-by many different means, with the Motion for Default Judgment, (2)

Defendants have had actual notice of the Motion for Default Judgment since September 8, 2020,

but have not filed any papers in opposition, Plaintiff respectfully requests that the Court grant the

Motion for Default Judgment.



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 ew York, New York                               FisherBroyles LLP
October 2, 2020
                                                 Isl Richard B. Cohen, Esq.
                                                Richard B. Cohen, Esq.
                                                                  th
                                                445 Park Avenue, 9 Floor
                                                New York, New York 10022
                                                Richard.Cohen@FisherBroyles.com
                                                (212) 247-6122




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Exhibit A
                                         Case 1:18-cv-05151-ENV-RER Document 37 Filed 10/02/20 Page 6 of 8 PageID #: 296




From:           Caro!Ann Harkaw
To:             Cbristioa Bost Seaton
Subject:        FW: Abbas V. Hestia Tobacco LLC et al
Date:           Wednesday, September 09, 2020 11:53:16 AM
Attachments:    33 2020-os-2s Abbas v Hestia Tobacco LLC et al.odf




1111
CarolAnn Harkavy

Paralegal to Amy Epstein Gluck, Christina H. Bost Seaton, Richard B. Cohen, and
Tony Onorato



FisherBroyles, LLP

direct: +1.908 .881 .6149

carolann.harkavy@fisherbroyles.com
www.fisherbroyles.com




From: CarolAnn Harkavy
Sent: Tuesday, September 8, 2020 2:43 PM
To: 'd@sley.co' <d@sley.co>; 'david@hestiatobacco.com' <david@hestiatobacco .com>;
'info@HestiaTobacco.com.' <info@HestiaTobacco.com.>
Cc: Richard Cohen <richard .cohen@FisherBroyles .com>
Subject: Abbas v. Hestia Tobacco LLC et al




Please see attached Report & Recommendation.




CarolAnn Harkavy

Paralegal to Amy Epstein Gluck, Christina H. Bost Seaton, Richard B. Cohen. and
Tony Onorato
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FisherBroyles, LLP

direct: +1 .908 .881.6149

carolaon harkavy@fisherbroyles.com

www.fisherbroyles.com
                                         Case 1:18-cv-05151-ENV-RER Document 37 Filed 10/02/20 Page 8 of 8 PageID #: 298




From:          carolAnn Harkaw
To:            info@HestiaTobacco.com
Cc:            Richard Cohen; Christina Bost Seaton
Subject:       Abbas v. Hestia Tobacco LLC et al
Date:          Wednesday, September 09, 2020 12:58:31 PM
Attachments:   33 2020-os-zs Abbas v Hestia Tobacco LLC et al.odf



Please see attached Report & Recommendation.




CarolAnn Harkavy

Paralegal to Amy Epstein Gluck, Christina H. Bost Seaton, Richard B. Cohen, and
Tony Onorato



FisherBroyles, LLP

direct: +1.908.881.6149

carolann,harkavy@fisherbroyles.com
www.fisherbroyles.com
